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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SVOTHI INC.,

                                                  Civil Action No. 25 CV 00333

                                                  ORDER TO SHOW CAUSE
                                                  FOR PRELIMINARY
                                                  INJUNCTION AND WITH
                                                  TEMORARY RESTRAINING
                                                  ORDER




Upon the Declarations of Robert Felt, sworn to February 5, 2025 and Ravi Ivan

Sharma, sworn to on February 5, 2025, the exhibits annexed thereto, the

Memorandum of Law submitted in support of this motion, and all other papers

and proceedings in this action, it is hereby:

ORDERED that Plaintiff Svothi, Inc. (“Counterclaim Defendant”), its

agents, employees, servants, officers, representatives, directors,

attorneys, successors, affiliates, assigns, and entities owned or

controlled by Counterclaim Defendant, and all those in active concert

or participation with Counterclaim Defendant, and each of them who

receives notice directly or indirectly of this Order, show cause before

this Court at Courtroom 1306, United States Courthouse, 40 Foley

Square, New York, New York, 10007 on the ______________ day of

_____________, 2025, at _____________, or as soon thereafter as counsel can

be heard, why an order should not be entered pursuant to Rule 65 of
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the Federal Rules of Civil Procedure:

 1.   Enjoining Counterclaim Defendant and its affiliates from the

      following actions:

      a. Advertising, marketing, promoting, distributing, displaying, offering

      for sale, selling, operating, and/or otherwise dealing in infringing goods,

      services, or businesses;

      b. Using Counterclaim Plaintiff Dark Alley Media, LLC’s (“DAM”)

      trademarks or other rights, including, without limitation, the the image

      mark “      ”,the word marks “RFC”, “Raw Fuck Club”, and “RFC Channels”,

      and the URLs “rawfuckclub.com, and rfcchannels.com (together the “JV

      Marks”), to identify any goods, services, or businesses not explicitly

      authorized by DAM in writing;

      c. Using any of DAM’s trademarks or other rights, including, without

      limitation, the JV Marks, or any other marks that are confusingly or

      substantially similar to the JV Marks, on or in connection with

      Counterclaim Defendant’s advertising, marketing, promoting,

      distributing, displaying, offering for sale, selling, operating, and/or

      otherwise dealing in goods and services, or engaging in business, not

      explicitly authorized by DAM in writin;

      d. Engaging in any action which is likely to cause confusion or cause

      mistake and/or to deceive members of the public as to the affiliation,

      connection, or association of any goods, services, or businesses advertised,
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marketed, promoted, distributed, displayed, operated, offered for sale, or

sold by Counterclaim Defendant with DAM, and/or as to the origin,

sponsorship, or approval of any product, service, or business advertised,

marketed, promoted, distributed, displayed, operated, offered for sale, or

sold by Counterclaim Defendant with DAM;

e. Engaging in the unlawful, unfair, or fraudulent business acts or

practices, including, without limitation, the actions described herein,

including the advertising, promotion, marketing, operating, and/or

dealing in any products, services, or businesses infringing on the JV

Marks;

f. Engaging in any other actions that constitute unfair competition with

DAM;

g. Secreting, destroying, altering, removing, or otherwise dealing with

infringing goods or services, or any books or records that contain any

information relating to advertising, marketing, promoting, distributing,

displaying, operating, offering for sale, selling, and/or otherwise dealing

in infringing goods, services, businesses, or domain names identical

and/or confusingly similar to the JV Marks;

h. Secreting, concealing, destroying, altering, selling off, transferring, or

otherwise disposing of and/or dealing with any computer files, data,

business records, documents, or any other records or evidence relating to

Counterclaim Defendant’s businesses or any money, securities, or other
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     property or assets of Counterclaim Defendant (whether said assets are

     located in the U.S. or abroad) from or to financial accounts associated

     with or utilized by Counterclaim Defendant in the advertising,

     marketing, promotion, operation, distribution, display, offering for sale,

     and/or sale of infringing products, services, or businesses;

     i. Secreting, concealing, transferring, disposing of, withdrawing,

     encumbering, or paying any of Counterclaim Defendant’s assets from any

     financial account until further ordered by this Court;

     j. Effecting assignments or transfers, forming new entities or associations,

     or utilizing any other device for the purpose of circumventing or otherwise

     avoiding the prohibitions set forth in any final judgment or order in this

     action;

     k. Instructing, aiding, or abetting any other person or entity in engaging

     in or performing any of the activities referred to in the foregoing

     subparagraphs.

2.   Directing Counterclaim Defendant to provide a complete

     accounting of all revenues, profits, gains, and advantages derived from

     its use of the JV Marks and DAM’s content within ___________________

     days.

3.   Directing Counterclaim Defendant to transfer all digital assets

     associated with the JV Marks, including metadata, source video, encoded

     stream files, and customer database tables, to DAM within
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       ___________________ days.

  4.   Directing Counterclaim Defendant to immediately cease all use of

       the JV Marks and any related intellectual property belonging to DAM.

IT IS FURTHER ORDERED THAT:

Pending the hearing and determination of this motion, Counterclaim Defendant

and its affiliates are temporarily restrained from engaging in any of the actions

described in Paragraph 1 above.

IT IS FURTHER ORDERED THAT:

Service of a copy of this Order, together with the papers upon which it is

granted, shall be made upon Counterclaim Defendant or its counsel on or before

_____________________________, and such service shall be deemed good and

sufficient.

SO ORDERED.

Dated:




_________________

Andrew L. Carter

United States District Judge
